                                                                          Exhibit 10




                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION


     ____________________________
                                             )
                                             )
     McKIVER, et al                          )
                                             )
                     vs.                     )
                                             )
                                             )
     MURPHY-BROWN, LLC, et al                )
                                             )
     ____________________________            )



                             TUESDAY, APRIL 3, 2018
                                   JURY TRIAL


                                 REPORTER'S NOTE:


               Since this trial testimony has been provided in rough

     draft form, please be aware that there will be discrepancies

     regarding page and line numbers when comparing the rough

     draft and the final transcript.             Also, please be aware that

     the uncertified rough draft transcript may contain

     untranslated steno, misspelled proper names, incorrect or

     missing Q/A symbols or punctuation, and/or nonsensical

     English word combinations.         All such entires will be

     corrected on the final, certified transcript.

                     MICHELLE A. McGIRR, RPR, CRR, CRC
                           Official Court Reporter
                        United States District Court
                           Raleigh, North Carolina
25              Stenotype with computer-aided transcription




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 1           (Tuesday, April 3, 2018 commencing at 9:15 a.m.)

 2                             P R O C E E D I N G S

 3

 4                             (Jury in at 9:14 a.m.)

 5                JUDGE BRITT:      Good morning, everyone.          (All say

 6   good morning).

 7                I'm glad to see we have a good array of our

 8   citizens who are interested in this case and are in the

 9   courtroom.     I want to tell all of you that I hope that you

10   will be able to listen and observe this case and gain more of

11   a civic knowledge about the way of our court system while

12   you're doing so.       I would point out that one of the most

13   disruptive parts of any court proceeding is when that door

14   back there opens so I would ask your cooperation in

15   minimizing the traffic in and out of the courtroom.                   In fact,

16   I have instructed the security officers that if a person

17   leaves, they can only return at the next recess, whenever

18   that is.     I assure you that the only reason I'm doing that is

19   to try to keep down disruptions as much as I possibly can.

20                Members of the jury, you got your preliminary

21   instructions yesterday afternoon.            You have your notebooks,

22   you're ready to proceed.         As you recall me telling you

23   earlier, the first thing that we will have is the opening

24   statements of the lawyers.          Mr. Michael Kaeske for the

25   plaintiffs will come before you first and present his opening



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 1   in the focus groups, reported they smell swine odor inside

 2   their homes and outside on their property.               Citizens and

 3   activists group members who live near large-scale swine

 4   operations said odor is a relatively constant nuisance.

 5   They said their children cannot go outside and play.                  Many

 6   talk about how they're embarrassed to have visitors because

 7   the smell permeates their homes and clothes.

 8               This is just one survey from Smithfield's files of

 9   citizens in eastern North Carolina not involved in any

10   lawsuit describing the interference caused by industrial hog

11   operations with their use and enjoyment of their property.

12   Smithfield knows they're interfering with their neighbors'

13   use and enjoyment of the property.             The decades of newspaper

14   articles, all the scientific studies, the covers, the

15   alternative technology, they're all addressing the same

16   issue:    The odor that comes from open pit lagoons and spray

17   fields.    And Smithfield has used no technology, they've done

18   nothing differently since these operations were built to

19   control the odor and to make the neighbors' lives better.

20               Now, I've told but a bunch of stuff that happened

21   in the last 20 years and shown you a bunch of historical

22   files from Smithfield.         Why?    Because I expect that you will

23   be instructed that one who employs an independent contractor,

24   the grower, to do work which the employer, Smithfield,

25   knowing or has reason to know to be likely to involve the



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